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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  NEWNAN DIVISION

IN RE:                                 )              CASE NO.       18-12426-WHD
DAVID SANDLER,                         )
KAREN JOAN SANDLER                     )              CHAPTER        7
       Debtor.                         )
                                       )              JUDGE          W. HOMER DRAKE
______________________________________ )
THE BANK OF NEW YORK MELLON            )              CONTESTED MATTER
TRUST COMPANY, N.A., AS INDENTURE )
TRUSTEE OF THE GMACM HOME EQUITY)
LOAN-BACKED CERTIFICATES, SERIES )
2007-HE2,                              )
      Movant,                          )
v.                                     )
                                       )
DAVID SANDLER AND                      )
KAREN JOAN SANDLER, Debtors,           )
AND THEO DAVIS MANN, Trustee,          )
                                       )
      Respondents.                     )

                                     NOTICE OF HEARING

NOTICE IS HEREBY GIVEN that a motion for relief from the automatic stay has been filed in
the above-styled case by Movant. In the event a hearing cannot be held within thirty (30) days
from the filing of the motion for relief from the automatic stay as required by 11 U.S.C. § 362,
Movant waives this requirement and agrees to the next earliest possible date, as evidenced by
signature below. If a final decision is not rendered by the Court within sixty (60) days of the date
of the request, Movant waives the requirement that a final decision be issued within that period.
The undersigned consents to the automatic stay (and any related co-debtor stay) remaining
in effect with respect to Movant until the court orders otherwise.

      Hearing will be held on the 28th day of March, 2019, at 9:00 a.m., 2nd Floor
Courtroom, at the Lewis R. Morgan Federal Building and United States Courthouse, 18
Greenville Street, Newnan, GA 30263.

Within three days of the date of this notice, Movant’s attorney, or a pro se Movant, shall serve
the motion and this notice upon the debtors, trustee, and their attorneys of record, and shall file a
certificate of service within three days of service. BLR 9007-2 NDGA.

Your rights may be affected by the court’s ruling on these pleadings. You should read these
pleadings carefully and discuss them with your attorney, if you have one. If you do not have an
attorney, you may wish to consult one. If you do not want the court to grant the relief sought in
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these pleadings or if you want the court to consider your views, then you and/or your attorney
must attend the hearing. You may also file a written response to the pleadings with the Clerk of
Court at the address below, with a copy to the Movant and the Trustee, but you are not required
to do so. If you file a written response, you must attach a certificate stating when, how and to
whom you served the response, and include the addresses. Mail or deliver your response so that
it is received by the Clerk at least two business days before the hearing. Mail to: Clerk,
You must also mail a copy of your response to the undersigned at the address stated below.

Clerk’s address – United States Bankruptcy Court, 18 Greenville Street, 2nd Floor, Newnan, GA
30263.

       If a final decision is not rendered by the Court within sixty (60) days of the date of the
request, Movant waives the requirement that a final decision be issued within that period.

If you or your attorney do not take these steps, the court may decide that you do not oppose
the relief sought in the Motion and may enter an order granting relief.

This notice is sent by the undersigned pursuant to LBR 9004-1(6).

DATE:       February 27, 2019                       /s/ Joshua M. Ryden
                                                    Joshua M. Ryden, GBN 140502
                                                    Padgett Law Group
                                                    6267 Old Water Oak Road
                                                    Suite 203
                                                    Tallahassee, FL 32312
                                                    (850) 422-2520 (telephone)
                                                    (850) 422-2567 (fax)
                                                    Josh.Ryden@padgettlawgroup.com
                                                    Attorney for Movant
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                                               Joshua M. Ryden
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